          Case 5:21-cv-00469-EGS Document 3 Filed 03/22/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                 :
                                                 :
C.D.A., minor child, and Mr. A., his             :        CIVIL ACTION NO. 21-cv-00469
father; and E.A.Q.A., minor child, and           :
Mr. Q., his father,                              :
                                                 :
                      Plaintiffs,                :
                                                 :
                                                 :
              v.                                 :
                                                 :
THE UNITED STATES OF AMERICA,                    :
                                                 :
                                                 :
                      Defendants.                :
                                                 :



                                    ENTRY OF APPEARANCE

              Kindly enter my appearance on behalf of the United States of America in the

above-captioned matter.


                                           /s/ Veronica J. Finkelstein
                                           Veronica J. Finkelstein
                                           Assistant United States Attorney
                                           615 Chestnut Street, Suite 1250
                                           Philadelphia, PA 19106
                                           (215) 861-8598
                                           Veronica.Finkelstein@usdoj.gov


Dated: March 22, 2021
          Case 5:21-cv-00469-EGS Document 3 Filed 03/22/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

               I hereby certify that on this date I caused a true and correct copy of the foregoing

to be served by electronic filing, upon the following:

                                       Karen L. Hoffmann
                                         SYRENA LAW
                                 128 Chestnut Street, Suite 301A
                                     Philadelphia, PA 19106

                                      Bridget Cambria
                                     Amy Maldonado
                              ALDEA – THE PEOPLE’S JUSTICE
                                         CENTER
                                     532 Walnut Street
                                    Reading, PA 19601



                                              /s/ Veronica J. Finkelstein
                                              Veronica J. Finklestein
                                              Assistant United States Attorney

Dated: March 22, 2021
